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                        EXHIBIT 02
                             URGENT: Proper communication with the children   EXHIBIT02
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Subject: URGENT: Proper communication with the children
From: Arnaud Paris <arnaud@skyvr.com>
Date: 11/05/2024 09:44
To: Heidi Paris <heidimparis@gmail.com>

Heidi, I am sad to see that you are still keeping the girls from communicating with me
directly and unsupervised on video calls and that it has been going on for more than a month
now~

I had specifically asked you repeteadly in my previous emails to be able to have video calls
with the girls directly and without your supervision at decent French hours since you know
very well I live in Paris. And instead you've tried to call me on whatsapp audio, no video, at
3am on Monday as you can see on the attached screenshot from my phone. This is clearly
unacceptable that you're pretending to the girls that you're trying to make communication with
me while you know exactly that it's the middle of the night and that I'm going to be sleeping
and that these calls will never go through.
So you're telling the girls, "Let's call your father", obviously you're not telling them that
it's the middle of the night in France, and then you tell them, "oh look your father doesn't
want to talk to you ... 11

And this is not random, you had done the same thing a week before on April 28th at 4am French
time and you did it again last night too ... Heidi, everybody can see through this now, you're
clearly conducting parental alienation and you want to permanently sever the link between me
and the girls. This is shocking.
Not to mention that you've now made the girls miss 3 weeks of their French school in Paris and
at this point you are clearly trying to sabotage their entire school year which can have
repercussions on their entire education now.
And it's also been more than a month that you escaped Europe criminally and voluntarily left
behind the girls' luggage with their palatal expanders while the girls were on an orthodontist
treatment that you had approved yourself to happen here in France over the next two years.
You left_ their palatal expanders on purpose which also has medical consequences on our
children since every week we are supposed to adjust this palatal expander and you"ve
interrupted that treatment for more than a month now!
I am extremely concerned about the parent you've become to our children right now ... Please
come back to your senses Heidi, stop destroying their French school year and their
relationship to their Father and their health!
Please bring them back to Paris of your own right now and we can try to put this entire
nightmare behind us as I am still willing to let you have equal parenting time in France and
to let the girls spend their entire French school vacations in Oregon with you and your family
as part of the French meditations we had started in Paris before you conducted this shocking
kidnapping in the middle of the school year.
And please re-establish immediately proper communication between me and the girls starting
today Saturday by organizing a video call between 6pm and 7pm Paris time which is 9am to 10am
US West coast time. The girls need to be able to speak to me directly each at a time on this
video call and unsupervised by you or anyone else.
And please let me know of five other possible video call times with the girls at decent French
hours and able to last 30 minutes (so no pressure on the girls to have to go somewhere or
watch a movie or something of that nature) for the coming week so that I can get organized to
have these unsupervised video calls in the best conditions and re-establish the link with them
that you've been trying to sever completely for more than a month now.
Thank you,
Arnaud

-Phone_Call_3am_May6.jpg--------------------------------



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-Attachments:-------------------------

Phone_Ca11_3am_May6.jpg                                                                                                                    136 KB




                                     EXHIBIT 02 - PAGE 2 OF 2
